                Case 1:18-cv-01043-LPS Document 266 Filed 12/05/18 Page 1 of 2 PageID #: 2334




                                December 5, 2018

                                VIA CM/ECF & HAND DELIVERY

                                The Honorable Leonard P. Stark
                                U.S. District Court for the District of Delaware
                                844 North King Street, Room 6325, Unit 26
Daniel M. Silver                Wilmington, DE 19801-3555
Partner
T. 302-984-6331
F. 302-691-1260                 Re: Novartis Pharmaceuticals Corporation v. Accord Healthcare, Inc., et al.,
dsilver@mccarter.com                C.A. No. 18-1043-LPS

                                Dear Chief Judge Stark:

McCarter & English, LLP               Plaintiff Novartis Pharmaceuticals Corporation (“Novartis”) and Defendants
Renaissance Centre              Aurobindo Pharma Limited and Aurobindo Pharma USA, Inc. (collectively
405 N. King Street, 8th Floor
Wilmington, DE 19801-3717       “Aurobindo”) write to request the scheduling of a discovery teleconference.
T. 302.984.6300
F. 302.984.6399
www.mccarter.com                       The following attorneys, including at least one Delaware Counsel and at least
                                one Lead Counsel per party, participated in a verbal meet-and-confers (by telephone)
BOSTON
                                on October 12, 2018, and November 15, 2018:

                                •   For Novartis: Paul Torchia from Gibson, Dunn & Crutcher, LLP, Dan Silver
HARTFORD                            from McCarter & English, LLP (October 12), and Benjamin Smyth from
                                    McCarter & English, LLP (November 15).
STAMFORD
                                •   For Aurobindo: George Barry from Kratz & Barry LLP, Timothy Kratz from
NEW YORK
                                    Kratz & Barry LLP, and Kenneth Dorsney from Morris James LLP.

                                The issues requiring judicial attention are listed below:
NEWARK

                                        •   The sufficiency of Aurobindo’s disclosure of ESI custodians and non-
EAST BRUNSWICK                              custodial data sources.

                                        •   Aurobindo’s responses and objections to certain requests for production
PHILADELPHIA
                                            set forth in Novartis’s First Set of Common Requests for the Production
                                            of Documents and Things to all Defendants.
WILMINGTON
                                        •   Aurobindo’s responses and objections to certain interrogatories set forth
WASHINGTON, DC                              in Novartis’s First Set of Common Interrogatories to all Defendants.




                                ME1 28768156v.1
Case 1:18-cv-01043-LPS Document 266 Filed 12/05/18 Page 2 of 2 PageID #: 2335



         The Honorable Leonard P. Stark
         December 5, 2018
         Page 2



         Respectfully Submitted,

         /s/ Daniel M. Silver

         Daniel M. Silver (#4758)

         cc:     Counsel of record (via electronic mail)




         ME1 28768156v.1
